EXHIBIT B
From:             Matthew Weiss
To:               Clark, Aaron
Subject:          Re: Filed Copy of Complaint
Date:             Friday, July 19, 2024 3:14:43 PM


[WARNING: EXTERNAL SENDER]



Aaron,

Email and attachment received.

I am not authorized to accept service.

I will, however, discuss with my client and let you know if that changes.

Matthew J. Weiss, Esq.
Weiss & Associates, PC            
Two Park Avenue
Suite 2058 (20th Floor)
New York, N.Y. 10016
212-683-7373


On Fri, Jul 19, 2024 at 4:33 PM Clark, Aaron <aaron.clark@dentons.com> wrote:

  Matthew –




  Here’s a copy of the filed complaint. Will you accept service for Kaila? For Julius?




  Thanks,

  Aaron


  Aaron Clark
  Shareholder




  O +1 801 415 3000




  aaron.clark@dentons.com   |   Bio   |   Website
  Dentons Durham Jones Pinegar P.C. | 111 South Main Street, Suite 2400, Salt Lake City, UT 84111

  Logo
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